                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


UNITED STATES OF AMERICA                           )
                                                   )
                                                   )       No. 3:05-CR-001-001
V.                                                 )       (PHILLIPS/GUYTON)
                                                   )
                                                   )
DWIGHT GEORGE WILLIAMS                             )


                              MEMORANDUM AND ORDER


              The defendant appeared for a revocation hearing on August 3, 2005, on a

Petition for Action on Conditions of Pretrial Release. Steven Cook, Assistant United States

Attorney, was present representing the government and Jonathan Cooper was present

representing the defendant.

              The defendant was placed on a $10,000.00 Appearance Bond with Order Setting

Conditions of Release on January 18, 2005. Condition’s of defendant’s release included that

he not commit another federal, state, or local crime while on bond in federal court, that he

report to Pretrial Services as directed, maintain or actively seek employment, obtain no

passport, refrain from possessing a firearm, refrain from the use of any narcotic drugs or

controlled substances, submit to testing for drugs, and participate in a program of inpatient or

outpatient substance abuse therapy and counseling as directed by Pretrial Services.

              A petition for action on conditions of pretrial release has been filed by

defendant’s pretrial services officer on August 1, 2005, stating the following violations: that



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on July 12, 2005, the defendant tested positive for cocaine. In addition, the lab confirmed the

specimen has been diluted. During the week of July 17, 2005, the defendant failed to report

for another drug test. On this basis, the government moved for detention and revocation of the

Order Setting Conditions of Release.

              At the 18 U.S.C. § 3148 hearing on August 2, 2005, Jonathan Moffatt stated that

the defendant admitted he has revoked his pretrial release. Mr. Moffatt requested that the

defendant be allowed to stay on bond because he has a job that he has held since October and

is making approximately $11.00 an hour. The Company that he works for stated that he could

have his job back after he has served his sentence. He also stated that the defendant needs to

get his financial matters in order before he goes to prison. Mr. Moffatt stated that the

defendant has always kept in contact with him and that he did self-report when he found out

that a warrant had been issued for his arrest.

              Mr. Williams made a statement to the Court stating he has made a mistake and

he realized his mistake after sitting in jail since his arrest.      He does have financial

responsibilities and would appreciate being allowed to continue to work until his sentencing

hearing.

              The government stated that pursuant to the defendant agreeing that he has

revoked his pretrial release, the defendant should be held pending his sentencing hearing. On

rebuttal, Mr. Cook stated that the defendant has furnished guns to gang members on several

occasions and lied to law enforcement officials. He has lied to pretrial and has violated his

release.

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              This Court finds that pursuant to 18 U.S.C. § 3148, the defendant has admitted

there is probable cause to believe that the defendant committed a Federal, State, or Local crime

while on release and that he violated other conditions of his release and the Court so finds. The

Court also finds that there no conditions or combination of conditions of release will assure

that the defendant will not pose a danger to the safety of another person and that the defendant

is unlikely to abide by any conditions or combination of conditions of release for the reasons

stated in this Court’s oral opinion including defendant’s changes, and guilty plea to charges,

of lying to obtain firearms, lying to Alcohol Tobacco Firearms agents, using cocaine while on

release, lying about the same and cheating on the drug test. Defendant’s propensity to continue

to violate, cover-up and lie coupled with his history of involvement with drugs and guns make

him a substantial risk of danger to the safety of the community and given his recent violation,

it is unlikely he will abide by any other conditions of release. Therefore, the order setting

conditions of release is hereby REVOKED and the defendant is remanded to the custody of

the United States Marshal pending his sentencing on October 31, 2005, at 9:00 a.m., before

the Honorable Thomas W. Phillips, United States District Judge. His appearance bond is

hereby CANCELLED.

                      IT IS SO ORDERED.

                                     ENTER:

                                              s/ C. Clifford Shirley, Jr.
                                            United States Magistrate Judge




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